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             ORAL ARGUMENT OCCURRED OCTOBER 8, 2020
           JUDGMENT AND OPINION ISSUED JANUARY 19, 2021
                 UNITED STATES COURT OF APPEALS
                  DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
AMERICAN LUNG ASSOCIATION, et al.,        )
                                          )
          Petitioners,                    )
                                          )
v.                                        ) No. 19-1140 and
                                          ) consolidated cases
UNITED STATES ENVIRONMENTAL               )
PROTECTION AGENCY, et al.,                )
                                          )
          Respondents.                    )
_________________________________________ )


             MOTION SEEKING EXTENSION OF ABEYANCE

      Petitioner American Lung Association (Case No. 19-1400), respectfully

requests that the Court continue to hold this case in abeyance until the resolution of

the petitions for review in West Virginia, et al. v. EPA, No. 24-1120 (D.C. Cir.

filed May 9, 2024) (and consolidated cases). Counsel for Petitioner American Lung

Association has reached out to the lead counsel for all Petitioners, Respondent, and

Respondent-Intervenors, and no other party has indicated opposition to this

request, nor has any other party indicated that they will file a separate Motion to

Govern, as set forth below.

      1.     Petitioners in the above-captioned case sought judicial review of three

rules promulgated by the U.S. Environmental Protection Agency (EPA): the Clean

Power Plan (CPP) Repeal Rule; the Affordable Clean Energy (ACE) Rule which
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established emissions guidelines for existing coal-fired power plants under the

Clean Air Act, 42 U.S.C. §7411(d); and updated regulations for implementation of

emissions guidelines under section 7411(d). See 84 Fed. Reg. 32,520 (July 8,

2019).

      2.    On January 19, 2021, this Court issued its decision vacating the CPP

Repeal Rule, the ACE Rule, and the timing provisions within the implementing

regulations. See American Lung Ass’n v. EPA, 985 F.3d 914 (D.C. Cir. Jan. 19,

2021), Doc. Id. No. 1880546.

      3.    The Supreme Court granted certiorari and issued its decision on June

30, 2022, and its judgment on August 1, 2022. West Virginia v. EPA, 597 U.S. 697

(2022).

      4.    The Supreme Court’s decision left certain legal and factual issues

related to the ACE Rule unresolved. This Court’s January 2021 decision also did

not address all of petitioners’ arguments challenging the ACE Rule.

      5.    The parties filed motions to govern the outstanding portions of this

case at this Court’s request, and on October 27, 2022, Doc. Id. No. 1970895, the

Court granted the joint motion to govern filed by EPA, and held the remaining

challenges to the ACE Rule in abeyance pending completion of a rulemaking by

EPA that, among other things, would replace the ACE Rule with a new rule

governing greenhouse gas emissions from fossil fuel-fired power plants.

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      6.     Pursuant to the Court’s October 27, 2022 order, EPA on May 13,

2024 filed a Status Report, Doc. Id. No. 2053996, indicating that the EPA

Administrator had signed a final rule entitled “New Source Performance Standards

for Greenhouse Gas Emissions from New, Modified, and Reconstructed Fossil

Fuel-Fired Electric Generating Units; Emissions Guidelines for Greenhouse Gas

Emissions from Existing Fossil Fuel-Fired Electric Generating Units; and Repeal

of the Affordable Clean Energy Rule” (2024 Power Plant Rule). The rule was

published in the Federal Register on May 9, 2024, 89 Fed. Reg. 39,798, and

petitions for review of that action were immediately filed and consolidated under

West Virginia, et al. v. EPA, No. 24-1120 (D.C. Cir. filed May 9, 2024). Several

motions for judicial stay of the 2024 Power Plant Rule also have been filed in that

case, and are currently in briefing.

      7.     The deadline for petitions challenging the 2024 Power Plant Rule is

60 days from the date of the rule’s publication, 42 U.S.C.§ 7607(b)(1), or by July

8, 2024. As of the date of this filing, issues statements in West Virginia, et al. v.

EPA are not due until at the earliest, June 10, 2024, and additional issues

statements may be filed into late July as a result of additional petitions for review

filed up until the July 8, 2024 statutory deadline for review. Therefore it is not

possible at this time to confirm whether any of the challenges to the 2024 Power




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Plant Rule will include challenges to the portion of that rule repealing the ACE

Rule.

        8.    Extending the abeyance of the outstanding portions of Case No. 19-

1140 as requested will promote judicial economy by avoiding unnecessary

adjudication of issues and claims that may become moot after resolution of the

West Virginia, et al. v. EPA petitions.

        9.    It would be in the interests of judicial economy, and of the orderly

disposition of related cases before this Court, for the Court to continue to hold

remaining issues in Case No. 19-1140 in abeyance pending the resolution of West

Virginia, et al. v. EPA, Case No. 24-1120 (D.C. Cir.) (and consolidated cases).

        10.   Counsel for Petitioner American Lung Association has reached out to

lead counsel for all other parties, seeking a position on this Motion to Govern. As

of the date and time of this filing, no party has expressed opposition to continued

abeyance, nor does any party plan to file a separate Motion to Govern, as more

specifically described below.

        11.   Lead counsel for Environmental and Public Health Petitioners (Nos.

19-1166 and 19-1173), lead counsel for Robinson Enterprises Inc., et al. (No. 19-

1175), lead counsel for Biogenic CO2 Coalition (No. 19-1185), and lead counsel

for Clean Industry Petitioners (Nos. 19-1186, 19-1187, and 19-1188) have stated




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that they do not oppose continued abeyance, and do not intend to file separate

Motions to Govern.

      12.    Lead counsel for Petitioner North American Coal Corporation (No.

19-1179) have stated they do not oppose the motion. Lead counsel for Petitioner

Westmoreland Mining Holdings LLC (No. 19-1176) was contacted, but as of the

time of this filling, has not confirmed a position.

      13.    Lead counsel for State and Local Government Petitioners (Nos. 19-

1165, 19-1177, and 19-1189) have stated that they do not oppose continued

abeyance, and do not intend to file separate Motions to Govern.

      14.    Counsel for Respondent EPA has stated that it will not oppose

continued abeyance, and does not intend to file a separate Motion to Govern.

      15.    Counsel for Intervenor Respondents have been contacted, and as of

the time of this filing, no one has indicated intention to oppose the motion for

continued abeyance.

      Petitioner American Lung Association accordingly requests that the Court

extend the abeyance of this matter until the petitions for review in West Virginia, et

al. v. EPA., No. 24-1120 (D.C. Cir. filed May 9, 2024) (and consolidated cases).

are fully resolved.




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     Respectfully submitted,

                               /s/ Ann Brewster Weeks
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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 27(d), I hereby certify that

the foregoing complies with the type-volume limitation set forth in the Court’s

May 16, 2024 Order, because it contains [1000] words, according to the count of

Microsoft Word.

                                              /s/ Ann Brewster Weeks
                                              ANN BREWSTER WEEKS




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                             CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system, which

will send a notification to the attorneys of record in this matter, who are registered

with the Court’s CM/ECF system.



                                                /s/ Ann Brewster Weeks
                                                ANN BREWSTER WEEKS




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